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                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 KELI’I AKINA, et al.,                        B Case 1:15-CV-00322-JMS-BMK
                                               .
          Plaintiffs,                          .
                                               . D ECLAR ATION OF W ALTER R.
                    v.                       C SCHOETTLE
                                               .
 STATE OF HAWAII, et al.,                      .
                                               .
        Defendants,                            .
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                        DECLARATION OF WALTER R. SCHOETTLE

       WALTER R. SCHOETTLE, pursuant to 28 U.S.C. § 1746, under penalty of

 perjury, and deposes and says as follows:

       1. I am the attorney for potential Intervenors, SAMUEL L. KEALOHA, JR.,

 et al., in the above-captioned matter.

       2. I am making this declaration in support of the motion to intervene and file

 cross-claim against the other defendants in this matter.

       3. On January 13, 2009, in the case Freddy Nobriga Enterprises, Inc., et al., v.


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 Department of Hawaiian Home Lands, et al., Civil No. 05-1-232, Circuit Court of the

 Third Circuit, State of Hawaii, I took the deposition of the Administrator, Land

 Management Division, Department of Hawaiian Home Lands, Linda Chinn.

       4. A true copy of pages 34 through 36 of that deposition, which accurately

 reflects the testimony given by Ms. Chinn, is attached hereto as Exhibit “A.”

       5. The testimony involved is about a license that was given by DHHL to

 conduct certain non-homestead activities upon a portion of the Hawaiian Home

 Lands which lands should have been available for homesteading purposes.

       6. Attached hereto as Exhibit “B” is the proposed Crossclaim that Proposed

 Intervenors wish to file if the motion to intervene is granted.

       7. After consultation with Intervenor, DAY, I prepared a draft declaration for

 him which I sent to him on September 21, 2015 by email.

       8. Mr. DAY reviewed the document and requested several changes.

       9. I edited the document and sent it back to Mr. DAY on September 22, 2015.

       10. Thereafter, Mr. DAY called me and informed me that had reviewed the

 document and that it was all correct and that he would sign it but could not because

 his vehicle was not running and he needed to go into town to have the declaration

 printed out for signature.

       11. Today I spoke with Mrs. DAY and was informed by her that Mr. DAY had

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 finally been able to go into town and would mail the declaration.

       12. I did not receive the signed declaration, but it will be filed upon receipt.

       13. A true copy of the declaration is attached hereto as Exhibit “C.”

       I declare under penalty of perjury under the laws of the United States that the

 foregoing is true and correct.

       Executed this 25th day of September, 2015, at Honolulu, Hawaii.



                                            /s/ Walter R. Schoettle
                                            WALTER R. SCHOETTLE




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